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                                                                                      .~ ILc~
               LUIS TIPACTI'   ~~                 ~ ~~ ~ ~,,~ f" •p ',G,~ ~~
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 `~          j 15030 #24, Ventura Blvd,                                          `""
               Sherman oaks,CA 91403                                             ~~l9 ~~y _~ pNl 12~ ~
                  IN PRO PER                                                               ~ ,. _~

                                         UNITED STATES DISTRICT COU$~.~__
                                       CENTRAL DISTRICT OF CALIFORNIA
 ~~ ~'
    jE


 ~' "                 INNOVATIVE SPORTS                                    Case No.
                      MANAGEMENT INC.,                                     2:19-cv-08726-TJH-PLAN.

             ~'
 ~'~ °"'                             Plaintiff,
                             vs.                                           ANSWER OF DEFENDANT
                                                                           LUIS TIPACTI , AN
 ~ _' '~i a           Claudia A. Portocarrero; and                         INDIVIDUAL, TO COMPLAINT
                      Luis Alejandro Tipacti,
 ~'' ~                individually and DBA Picante
                                                                           DEMAND FOR JURY TRIAL
                      Peruvian Cuisine,

  '
  ~ ~                                Defendants,                           Complaint filed: October 10, 2019

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 _< ,
                  TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
             ~ Defendant Luis Tipacti, an individual answer the Complaint of plaintiff
                  INNOVATIVE SPORTS MANAGEMENT INC.("Plaintiff'), as follows:


-                    l. Answer to paragraph 1. Admit and deny all the rest allegations in this paragraph
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 ~.
  `~                 2. Answer to paragraph 2: Deny. The court does not have subject-matter jurisdiction

                  over the claims because to maintain an action in federal court, a plaintiff must satisfy the
~_         1
         ~ ~ "irreducible constitutional minimum" of standing.
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                     3. Answer to paragraph 3: Admit and deny the remaining allegations of this paragraph
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,. ~~; ~             4. Answer to paragraph 4: Admit



                         ANSWER OF DEFENDANT LUIS TIPACTi, AN INDIVIDUAL
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                     5. Answer to paragraph 5: Admit

~       ~            6. Answer to paragraph 6:Defendant is without sufficient information to admit or

                   deny.

                     7. Answer to paragraph 7:Deny

                     8. Answer to paragraph 8:Defendant is without sufficient information to admit or
           t


                   deny.
           I
                     9. Answer to paragraph 9: Admit but deny all remaining allegations.

~~     ~ ~a           10. Answer to paragraph 10: Defendant is without sufficient information to admit or

    '~ ~ 4 deny.

~~                    1 l.Answer to paragraph 11 : Defendant is without sufficient information to admit or

~ ~"' ~ deny.
'
:
  ,'                  12. Answer to paragraph 12. Deny.

                      13. Answer to paragraph 13. Defendant is without sufficient information to admit or

       F           deny.

                      14. Answer to paragraph 14.Deny.

                      l 5. Answer to paragraph 15. Defendant is without sufficient information to admit or

~, `               deny.

n ;,                  16. Answer to paragraph 16. Deny.

                      1 7. Answer to paragraph 17. Deny.
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~~ '                  l8. Answer to paragraph 18. Deny.

~w~            j      19. Answer to paragraph 19. Deny
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       ''             20. Answer to paragraph 20. Defendant is without sufficient information to admit or

                   deny.



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                           ANSWER OF DEFENDANT LUIS TIPACTI, AN INDNIDUAL
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                     21. Answer to paragraph 21. Defendant is without sufficient information to admit or

                   deny.
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                     22. Answer to paragraph 22. Deny
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                     23. Answer to paragraph 23. Deny

       ' ''           24. Answer to paragraph 24. Deny
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             f
             ~       25. Answer to paragraph 25. Deny

        P~ ~         26. Answer to paragraph 26. Deny

                     27. Answer to paragraph 27. Deny

                     28. Answer to paragraph 28. Deny

•'                    29. Answer to paragraph 29. Deny

                      30. Answer to paragraph 30. Deny
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                      31. Answer to paragraph 31. Deny

                      32. Answer to paragraph 32. Deny

                      33. Answer to paragraph 33. Deny
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         t            34. Answer to paragraph 34. Dena
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                      35. Answer to paragraph 35. Deny

                     36. Answer to paragraph 36. Deny

                     37. Answer to paragraph 37. Deny

     ~, ~             38. Answer to paragraph 38. Deny
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                      39. Answer to paragraph 39. Deny
     ~~
~~ w ~~              40. Answer to paragraph 40. Deny
~~             R
                     41. Answer to paragraph 41. Deny
~:
""                   42. Answer to paragraph 42. Deny

                     43. Answer to paragraph 43. Deny
~ ~ ~'

~s:
                           ANSWER OF DEFENDANT LUIS TIPACT'i, AN INDIVIDUAL
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             44. Answer to paragraph 44. Deny

             45. Answer to paragraph 45. Deny
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             46. Answer to paragraph 46. Deny

             47. Answer to paragraph 47. Deny

             48. Answer to paragraph 48. Deny

             49. Answer to paragraph 49. Deny

             50. Answer to paragraph 50. Deny

             51. Answer to paragraph 51. Deny

 ~ ~~        52. Answer to paragraph 52. Deny

I            53. Answer to paragraph 53. Deny
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             54. Answer to paragraph 54. Deny

             55. Answer to paragraph 55. Deny

             56. Answer to paragraph 56. Deny
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             57. Answer to paragraph 57. Deny

             58. Answer to paragraph 58. Deny

             59. Answer to paragraph 59. Deny

             60. Answer to paragraph 60. Deny

~~           61. Answer to paragraph 61. Deny

~1 j                                        AFFIRMATIVE DEFENSES
    I
~~                                     (Rule 8. General Rules ofPleading)
    3
~~~       I should not be held liable for the claims made by the plaintiff in the complaint because:

              1. This Court lacks subject matter jurisdiction over this action.To maintain an action in
7~,
          federal court, a plaintiff must satisfy the "irreducible constitutional minimum" of standing.


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                 ANSWER OF DEFENDANT LUIS TIPACTI, AN INDIVIDUAL
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                      2.    The complaint and each and every purported claim for relief therein fail to set forth facts

                   sufficient to state a claim for relief against defendants

          E~          3. Defendants cannot be found liable in that Defendants alleged conduct, if any, did not
=~
                   violate andy state or federal statute, or constitutional provision including the ones cited in the

                   complaint

                      4. The plaintiff was not injured, deprived of any right, privilege, or immunity secured to him'

                   under the United States Constitution, the State of California Constitution, or the laws of the

                   United States of the State of California

                       5.   The complaint and each and every purported claim for relief therein are barred because
~~
 a        3
                   Defendants ar their respective agents did nothing to affect any right of Plaintiff

                      6. Plaintiff's prayer for judgement and damages are barred because Defendants or their
1:
          i        respective agents did nothing to affect any right of Plaintiff

                      7. Defendant reserves the right to assert additional defenses in the event that discovery

                   indicates that it would appropriate.
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                   REQUEST FOR RELIEF

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           ~' WHEREFORE,the Defendant requests:

,~_
                   1. Dismissal of the Plaintiffls action with prejudice;

                   2. An order that Plaintiff shall take no relieffrom the complaint;
              ii
                   3. The costs of suit incurred herein;

           `       4. Such further relief the Court deems fair and just.




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                            ANSWER OF DEFENDANT LUIS TIPACTI, AN INDIVIDUAL
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             Defendant in Pro Per




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                   ANSWER OF DEFENDANT LUIS TIPACTI, AN INDIVIDUAL
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         PROOF OF SERVICE

          am employed in the County aforesaid, I am over the age of 18 years and not a party to the
         within action, my business address is 7043 Willis ave, Van Nuys CA 91405

         On 10-31-2019 I served the document listed below on the parties in this action as follows:
         DOCUMENT(S)SERVED:

         ANSWER OF DEFENDANT LUIS TIPACTI TO COMPLAINT OF INNOVATIVE
         SPORTS MANAGEMENT INC.



                                                   First Library Square
           LAW OFFICES OF THOMAS
                                                   1114 Fremont Ave, South
           P.RILEY,P.C.
                                                   Pasadena, CA 91030
                                                   Attorneys for Plaintiff


         [X](BY MAIL) I placed such envelope on the above date, with postage fully prepaid, for deposit
          in the US Postal Service at my place of business at Encino, California, following the ordinary
          business practices of my place of business. I am readily familiar with the business practice at my
          place of business for collection and processing of correspondence for mail with the US Postal
          Service. Under that practice, such correspondence is deposited with the US Postal Service the
         same day it is collected and processed in the ordinary course of business.

1        [](BY EMAIL TRANSMISSION)Per the agreement of the parties, by
         causing the transmittal of the documents) listed above, via electronic mail to the e-
3
         mail addresses)set forth herein on this date. The transmission was reported as
1        complete and without error.

}        [ ](BY FACSIMILE) I caused to be transmitted the document *s( described herein via the
         facsimile number (s) listed above and/or on the attached Service list.
    ',
,~ ~ E ', [X](STATE) I declare under penalty

-~~      NAME,      Merari MurII
         SIGNATURE,
Via;     DATE 10-31-2019         ~~

w..




                 ANSWER OF DEFENDANT LUIS TIPACTI, AN INDIVIDUAL
